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 6                      UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     Michelle Marie Mendoza,               Case No. 2:22-cv-03775-ADS
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10              Plaintiff,                 ORDER FOR STIPULATION FOR
                                           THE AWARD AND PAYMENT OF
11                     v.                  ATTORNEY FEES AND
12                                         EXPENSES PURSUANT TO THE
   Martin O’Malley, Commissioner of        EQUAL ACCESS TO JUSTICE
13 Social Security,                        ACT
14
              Defendant.
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17        Based upon the parties’ Stipulation for the Award and Payment of Equal Access
18 to Justice Act Fees and Expenses, IT IS ORDERED that fees and expenses in the
19
   amount of SIX THOUSAND FOUR HUNDRED AND FIFTY DOLLARS AND
20
21 00/100 ($6,450.00) as authorized by 28 U.S.C. § 2412 and costs in the amount of
22 FOUR HUNDRED AND TWO DOLLARS AND 00/100dollars ($402.00) under 28
23
   U.S.C. §1920, be awarded subject to the terms of the Stipulation.
24
25        IT IS SO ORDERED.
26
             07/05/2024
     DATE:________________               ______________________________
                                               /s/ Autumn D. Spaeth
27                                           / AUTUMN D. SPAETH
                                         HON.
28                                       UNITED STATES MAGISTRATE JUDGE
